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                                                                        FILED: May 4, 2022

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                           No. 22-1303
                                    (1:21-cv-00219-CCE-JEP)
                                      ___________________

        In re: VALERIE ARROYO; DEREK OLIVARIA

                     Petitioners

                                     ___________________

                                          ORDER
                                     ___________________

              The court dismisses this proceeding for failure to prosecute pursuant to

        Local Rule 45.

                                              For the Court--By Direction

                                              /s/ Patricia S. Connor, Clerk




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